 Case 2:18-cv-10481-FMO-JC Document 182-1 Filed 07/20/20 Page 1 of 6 Page ID #:1936



1    CHRISTINE NESTOR, Fla. Bar No. 597211
     Email: nestorc@sec.gov
2    STEPHANIE N. MOOT, Fla. Bar No. 30377
     Email: moots@sec.gov
3    ANDREW O. SCHIFF, Pa. Bar No. 43641
     Email: schiffa@sec.gov
4
     Attorneys for Plaintiff
5    Securities and Exchange Commission
     801 Brickell Avenue, Suite 1950
6
     Miami, FL 33131
7    Telephone: (305) 982-6300
     Facsimile: (305) 516-4154
8
9
     LOCAL COUNSEL
10   DONALD W. SEARLES, Cal. Bar No. 135705
     Email: searlesd@sec.gov
11
     Securities and Exchange Commission
12   444 S. Flower Street, Suite 900
     Los Angeles, CA 90071
13
     Telephone: (323) 965-3398
14   Facsimile: (213) 443-1904
15
                          UNITED STATES DISTRICT COURT
16
                         CENTRAL DISTRICT OF CALIFORNIA
17                           Case No. 2:18-cv-10481-FMO (JC)
18
19   SECURITIES AND EXCHANGE
     COMMISSION,
20
                    Plaintiff,
21
22         vs.
23
     ROBERT DAVIS, JR., et al.
24
25                Defendants.
26
27                 PLAINTIFF’S UNOPPOSED MOTION
       FOR EXTENSION OF TIME TO FILE SETTLEMENT DOCUMENTS OR
28   MOTION ADDRESSING MONETARY RELIEF AGAINST THE DEFENDANTS
                                            1
 Case 2:18-cv-10481-FMO-JC Document 182-1 Filed 07/20/20 Page 2 of 6 Page ID #:1937



1          Judgments for injunctive relief have been entered against each of the Defendants and
2    the sole remaining issues are the assessment of disgorgement and civil penalties against
3    the remaining Defendants, Robert S. Davis, Jr., Donald Anthony Mackenzie, Old Security
4    Financial Group, Inc., Aaron A. Andrew, Paramount Financial Services, Inc., Jeffrey L.
5    Wendel, Wendel Financial Network, LLC, Richard Fritts, Fritts Financial, LLC, Gregory
6    A. Koch, Koch Insurance Brokers, LLC, Gregory W. Anderson, Balanced Financial, Inc.,
7    Marcus Bradford Bray, Bradford Solutions, LLC, and Charles Nilosek (collectively
8    “Defendants”).
9          On February 18, 2020, this Honorable Court granted the parties’ unopposed motion
10   for a stay of this matter pending the Supreme Court’s decision in Liu v. SEC, case number
11   18-1501, 2019 WL 5659111 (U.S. Nov. 1, 2019) and allowing the Commission 30 days
12   after the Liu decision to file its motions regarding the monetary remedies. DE 181.
13         On June 22, 2020, the Supreme Court issued its decision, Liu v. SEC, 140 S.Ct. 1936.
14   Among other things, the decision confirmed the SEC’s authority to seek disgorgement that
15   does not exceed a wrongdoer’s net profits.      With this decision and the framework
16   established by the Supreme Court, the Commission staff is determining what it believes is
17   the appropriate amount of disgorgement against each Defendant. More specifically, the
18   Commission staff has requested the Defendants provide additional information regarding
19   permitted business expenses related to their sale of the Woodbridge product which could
20   assist in determining the net profits gained by the Defendants. The Defendants are
21   currently gathering this information and upon receipt the Commission staff will require
22   time to review the documents.
23         It is the goal of the parties to resolve the remaining monetary claims; however, an
24   analysis of additional information from the Defendants regarding expenses will be
25   required. The Commission staff will also require authorization from the Commission in
26   Washington D.C. prior to accepting the terms of any settlement or establishing the net
27   profits and civil penalty amounts it will seek against the Defendants. Accordingly, the
28   Commission requests and the Defendants do not oppose a 90 day extension of time through

                                                 2
 Case 2:18-cv-10481-FMO-JC Document 182-1 Filed 07/20/20 Page 3 of 6 Page ID #:1938



1    Tuesday, October 20, 2020 to either file settlement documents for the Court’s approval or
2    a motion to establish the monetary claims against the Defendants.
3          Good cause exists for granting the requested extension because the Supreme Court’s
4    decision requires the parties to reassess their respective positions on the amount of
5    disgorgement owed by each Defendant. The parties have acted with reasonable diligence
6    by holding telephone conferences regarding the effects of the Liu decision and agreeing
7    that the Defendants would endeavor to gather, review, and produce records (some of which
8    are several years old) to the Commission for consideration when determining the
9    appropriate disgorgement amount it should seek.
10         In accordance with Local Rule 7-3, counsel represents that they have conferred with
11   counsel for the Defendants on various dates in July, 2020 regarding this motion and they
12   have each indicated they do not oppose this motion.
13         WHEREFORE, for the foregoing reasons, the Plaintiff respectfully moves this Court
14   for an Order granting a 90 day extension of time for the Plaintiff to either file settlement
15   documents for the Court’s approval or a motion to establish the monetary claims against
16   the Defendants.
17
18   July 20, 2020                               Respectfully submitted,
19                                          By: Christine Nestor & Stephanie N. Moot
                                                Christine Nestor & Stephanie N. Moot
20
                                                Counsel for the Plaintiff
21                                              nestorc@sec.gov; moots@sec.gov
                                                FL Bar No. 597211; FL Bar No. 30377
22
                                                Telephone: (305) 982-6367; (305) 982-6313
23
24
25                                    PROOF OF SERVICE
26
     I am over the age of 18 years and not a party to this action. My business address is: U.S.
27   SECURITIES AND EXCHANGE COMMISSION, 801 Brickell Avenue, Suite 1950,
28   Miami, Florida 33131 Telephone No. (305) 982-6300; Facsimile No. (305) 536-4154. On

                                                  3
 Case 2:18-cv-10481-FMO-JC Document 182-1 Filed 07/20/20 Page 4 of 6 Page ID #:1939



1    July 20, 2020, I caused to be served the document entitled Plaintiff’s Unopposed Motion
2    for Extension of Time, on all the parties to this action addressed as stated on the attached
     service list:
3
4    ☐ OFFICE MAIL: By placing in sealed envelope(s), which I placed for collection and
5    mailing today following ordinary business practices. I am readily familiar with this
     agency’s practice for collection and processing of correspondence for mailing; such
6
     correspondence would be deposited with the U.S. Postal Service on the same day in the
7    ordinary course of business.
8
9    ☐ PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s), which I
     personally deposited with the U.S. Postal Service. Each such envelope was deposited with
10
     the U.S. Postal Service at Los Angeles, California, with first class postage thereon fully
11   prepaid.
12
13   ☐ EXPRESS U.S. MAIL: Each such envelope was deposited in a facility regularly
     maintained at the U.S. Postal Service for receipt of Express Mail at Los Angeles,
14
     California, with Express Mail postage paid.
15
16   ☐ HAND DELIVERY: I caused to be hand delivered each such envelope to the office
17   of the addressee as stated on the attached service list.

18
     ☐ UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated by
19   United Parcel Service (“UPS”) with delivery fees paid or provided for, which I deposited
20   in a facility regularly maintained by UPS or delivered to a UPS courier, at Los Angeles,
     California.
21
22   ☐ ELECTRONIC MAIL: By transmitting the document by electronic mail to the
23   electronic mail address as stated on the attached service list.
24
     ☒ E-FILING: By causing the document to be electronically filed via the Court’s
25
     CM/ECF system, which effects electronic service on counsel who are registered with the
26   CM/ECF system.
27
28

                                                  4
 Case 2:18-cv-10481-FMO-JC Document 182-1 Filed 07/20/20 Page 5 of 6 Page ID #:1940



1    ☐ FAX: By transmitting the document by facsimile transmission. The transmission was
2    reported as complete and without error.

3    I declare under penalty of perjury that the foregoing is true and correct.
4
5    Date: July 20, 2020                           /s/ Christine Nestor
6                                                  Christine Nestor

7
8                               SEC v. Robert Davis, Jr., et al.
9                 United States District Court – Central District of California
                              Case No. 2:18-cv-10481-FMO (JC)
10
11                                         SERVICE LIST
12   Benette L. Zivley, Esq.
13   900 E. Pecan Street, Suite 300-#291
     Pflugerville, TX 78660
14   Email: bzivley@outlook.com
15
     Jonathan Schwartz, Esq.
16   4640 Admiralty Way, Suite 500
17   Marina Del Rey, CA 90292
     Email: nasdlaw@aol.com
18   Attorney for Defendants Robert S. Davis, Jr., Donald Anthony Mackenzie and Old
19   Security Financial Group, Inc.
20   D. Loren Washburn, Esq.
21   Jacob Fonnesbeck, Esq.
     8 East Broadway, Suite 320
22   Salt Lake City, UT 84111
23   Email: lwashburn@smithwashburn.com
     jfonnesbeck@smithwashburn.com
24
25   Brennan Moss, Esq.
     Pia Anderson Moss Hoyt
26   136 E. South Temple, 19th Floor
27   Salt Lake City, UT 84111
     Email: bmoss@pamhlaw.com
28   Attorneys for Defendants Aaron A. Andrew and Paramount Financial Services, Inc.
                                                   5
 Case 2:18-cv-10481-FMO-JC Document 182-1 Filed 07/20/20 Page 6 of 6 Page ID #:1941



1
     Lori Patterson, Esq.
2
     Mark D. Griffin, Esq.
3    Joshua Tropper, Esq.
     Baker, Donaldson, Bearman, Caldwell & Berkowitz, P.A.
4
     165 Madison Avenue, Suite 2000
5    Memphis, TN 38103
     Email: lpatterson@bakerdonalson.com
6
     mgriffin@bakerdonaldson.com
7    Attorneys for Defendants Jeffrey L. Wendel and Wendel Financial Network, LLC,
     Richard Fritts and Fritts Financial, LLC, and Gregory A. Koch and Koch Insurance
8
     Brokers, LLC, Gregory W. Anderson and Balanced Financial, Inc.
9
10
     Derek C. Anderson, Esq. Susie Youn, Esq.
11   Winget, Spadafora & Schwartzberg, LLP
     2440 Junction Place, Suite 101
12
     Boulder, CO 80301
13   Email: Anderson.d@wssllp.com
     Youn.s@wssllp.com
14
     Attorneys for Defendants Marcus Bradford Bray and Bradford Solutions, LLC
15
     Stanley C. Morris, Esq.
16
     Corrigan and Morris LLP
17   12300 Wilshire Boulevard Suite 210
     Los Angeles, CA 90025
18
     310-394-2800
19   Fax: 310-394-2825
     Email: scm@cormorllp.com
20
     Attorney for Defendant Charles Nilosek
21
22
23
24
25
26
27
28

                                              6
